               2:23-cv-02162-CSB-EIL # 11           Filed: 10/17/23       Page 1 of 21




                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                     Urbana Division

NYZIRIA BROWN,

                Plaintiff,

v.                                                                  Case No. 23-2162

EDEN SUPPORTIVE LIVING
CHAMPAIGN LLC,

                Defendant.


                                               ORDER

        IT IS ORDERED:

     1. This matter is scheduled for a Rule 16 Scheduling Conference by personal appearance
        before U.S. Magistrate Judge Eric I. Long on November 16, 2023, at 9:45 a.m.
        Courtroom B, U.S. Courthouse, 201 South Vine Street, Urbana, Illinois.

     2. Primary trial counsel for each party shall attend and be prepared to discuss all issues
        listed in FED. R. CIV. P. 16 and 26.

     3. Attorneys shall timely comply with FED. R. CIV. P. 26(a)(1). A certificate of compliance
        should be filed, but the disclosures are NOT to be filed. [CDIL-LR 26.3 (A)].

     4. A meeting pursuant to FED. R. CIV. P. 26(f) shall occur at least twenty-one (21) days
        before the scheduling conference is held. The parties shall fully comply with the
        requirements of Rule 26(f).

     5. The parties shall develop a proposed discovery plan 1 which shall be submitted to the
        Court not less than seven days prior to the Scheduling Conference. If an agreed
        discovery plan pursuant to FED. R. CIV. P. 26(f)(3) is filed seven days before the


A sample proposed discovery plan can be found at this Court’s website -
1

www.ilcd.uscourts.gov/forms/all-forms/urbana.
      2:23-cv-02162-CSB-EIL # 11           Filed: 10/17/23     Page 2 of 21




hearing, the Court will adopt the schedule and vacate the Rule 16 Scheduling
Conference. If applicable, the plan should include provisions for discovery or disclosure
of electronically stored information and any agreement with respect to inadvertently
disclosed work product or privileged information, using the Sedona Principles (2d Ed.
2007) as a guide; a copy of these Principles follows the signature of this Order. Failure to
timely submit a discovery plan may result in the cancellation of the discovery conference
and assessment of costs.


ENTERED this 17th day of October, 2023.
                                                    s/ERIC I. LONG
                                              U.S. MAGISTRATE JUDGE
             2:23-cv-02162-CSB-EIL # 11         Filed: 10/17/23    Page 3 of 21




      The Sedona Principles Addressing Electronic Document Production June 2007
                                    Second Edition

1. Electronically stored information is potentially discoverable under Fed. R. Civ. P. 34 or
   its state equivalents. Organizations must properly preserve electronically stored
   information that can reasonably be anticipated to be relevant to litigation.

2. When balancing the cost, burden, and need for electronically stored information, courts
   and parties should apply the proportionality standard embodied in Fed. R. Civ. P.
   26(b)(2)(C) and its state equivalents, which require consideration of the technological
   feasibility and realistic costs of preserving, retrieving, reviewing, and producing
   electronically stored information, as well as the nature of the litigation and the amount
   in controversy.

3. Parties should confer early in discovery regarding the preservation and production of
   electronically stored information when these matters are at issue in the litigation and
   seek to agree on the scope of each party’s rights and responsibilities.

4. Discovery requests for electronically stored information should be as clear as possible,
   while responses and objections to discovery should disclose the scope and limits of the
   production.

5. The obligation to preserve electronically stored information requires reasonable and
   good faith efforts to retain information that may be relevant to pending or threatened
   litigation. However, it is unreasonable to expect parties to take every conceivable step to
   preserve all potentially relevant electronically stored information.

6. Responding parties are best situated to evaluate the procedures, methodologies, and
   technologies appropriate for preserving and producing their own electronically stored
   information.

7. The requesting party has the burden on a motion to compel to show that the responding
   party’s steps to preserve and produce relevant electronically stored information were
   inadequate.
             2:23-cv-02162-CSB-EIL # 11         Filed: 10/17/23    Page 4 of 21




8. The primary source of electronically stored information for production should be active
   data and information. Resort to disaster recovery backup tapes and other sources of
   electronically stored information that are not reasonably accessible requires the
   requesting party to demonstrate need and relevance that outweigh the costs and
   burdens of retrieving and processing the electronically stored information from such
   sources, including the disruption of business and information management activities.

9. Absent a showing of special need and relevance, a responding party should not be
   required to preserve, review, or produce deleted, shadowed, fragmented, or residual
   electronically stored information.

10. A responding party should follow reasonable procedures to protect privileges and
   objections in connection with the production of electronically stored information.

11. A responding party may satisfy its good faith obligation to preserve and produce
   relevant electronically stored information by using electronic tools and processes, such
   as data sampling, searching, or the use of selection criteria, to identify data reasonably
   likely to contain relevant information.

12. Absent party agreement or court order specifying the form or forms of production,
   production should be made in the form or forms in which the information is ordinarily
   maintained or in a reasonably usable form, taking into account the need to produce
   reasonably accessible metadata that will enable the receiving party to have the same
   ability to access, search, and display the information as the producing party where
   appropriate or necessary in light of the nature of the information and the needs of the
   case.

13. Absent a specific objection, party agreement or court order, the reasonable costs of
   retrieving and reviewing electronically stored information should be borne by the
   responding party, unless the information sought is not reasonably available to the
   responding party in the ordinary course of business. If the information sought is not
   reasonably available to the responding party in the ordinary course of business, then,
   absent special circumstances, the costs of retrieving and reviewing such electronic
             2:23-cv-02162-CSB-EIL # 11         Filed: 10/17/23    Page 5 of 21




   information may be shared by or shifted to the requesting party.

14. Sanctions, including spoliation findings, should be considered by the court only if it
   finds that there was a clear duty to preserve, a culpable failure to preserve and produce
   relevant electronically stored information, and a reasonable probability that the loss of
   the evidence has materially prejudiced the adverse party.
                   2:23-cv-02162-CSB-EIL # 11               Filed: 10/17/23     Page 6 of 21




   CHAMBERS OF                           UNITED STATES DISTRICT COURT                     TELEPHONE 217-974-7510
COLIN S. BRUCE                              CENTRAL DISTRICT OF ILLINOIS                  FACSIMILE 217-373-5855
 U.S. DISTRICT JUDGE                               318 U.S. COURTHOUSE
                                                  201 SOUTH VINE STREET
                                                  URBANA, ILLINOIS 61802




Dear Counsel:

          Enclosed please find the following documents in regard to your upcoming Rule 16

scheduling conference:

          1.           Order setting the Rule 16 scheduling conference;

          2.           Memo outlining the particulars of the Rule 16 scheduling conference;

          3.           General Rules for the Conduct of Counsel submitted by the Court;

          4.           Information on the Court’s website, including a link to Courtroom
                       Technology guides;

          5.           Consent form for use in assigning case to U.S. Magistrate Judge Eric I.
                       Long as explained in Section IV of Memo.

          Please read all items thoroughly as recent changes have been made.



                 s/ Eric I. Long                                               s/ Colin S. Bruce
                 ERIC I. LONG                                                 COLIN S. BRUCE
          U. S. MAGISTRATE JUDGE                                           U. S. DISTRICT JUDGE
              2:23-cv-02162-CSB-EIL # 11           Filed: 10/17/23     Page 7 of 21




                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                      Urbana Division


                                MEMORANDUM

TO:            Counsel in Pending Cases

FROM:          Colin S. Bruce
               U.S. District Judge

               Eric I. Long
               U.S. Magistrate Judge

RE:             RULE 16 CONFERENCES

I.     Introduction

       Rule 16 conferences in the Urbana Division in the Central District of Illinois are a critical
component of the court’s case management system. It is the intention of the court to make the Rule
16 conference a meaningful undertaking with an eye toward accomplishing the goals set forth in
FRCP 16(a). This memo is intended to acquaint counsel with the matters typically discussed at a
Rule 16 conference. The ranking of the subjects that follow is purely random.

II.    Case Discussion

       A.      Counsel should be prepared to engage in a frank discussion of the case. The Court
               will be familiar with the pleadings but will likely be interested in knowing more
               about the details. The Court will likely want to discuss the issues raised by the
               complaint, as well as matters included in affirmative defenses which have been
               raised. Any such discussion shall be undertaken pursuant to FRCP 16(c) which
               counsel are advised to review prior to the conference.

       B.      The Court will schedule cases for Rule 16 conference even when there are pending
               motions. If possible, the motions will be resolved prior to the conference. However,
               in many instances, it will not be possible to resolve all motions prior to the
               conference. Nevertheless, the conference will proceed. The Court will not guarantee
               that oral argument on any pending motion will be allowed. (See VII(D) below).
               However, counsel should be prepared to answer questions the Court may have
               regarding any outstanding motion(s).
            2:23-cv-02162-CSB-EIL # 11             Filed: 10/17/23     Page 8 of 21




III.   Discovery Calendar

       A.    Pursuant to the order setting the case for a Rule 16 conference, the parties are to have
             submitted a proposed discovery plan prior to the Rule 16 conference. As a general
             rule, the Court attempts to put each case on one of the three tracks.

             1.     Uncomplicated cases should have a calendar which would allow for trial
                    within one year of the Rule 16 conference.

             2.     Most cases will have a calendar designed for completion approximately 18
                    months following a Rule 16 conference.

             3.     Cases that are exceptionally complex or involve logistical problems such as
                    the need to take depositions internationally will be allowed a 24 month
                    calendar.

       B.    The Court will consider the proposed calendar submitted by counsel and make any
             changes necessary to conform the calendar to the track selected. In so doing the
             Court intends to be flexible in order to allow a reasonable time for completion of
             discovery. Subsequent requests for extension (even if by agreement) will be granted
             only under exceptional circumstances.

       C.    In addition to the dates governing discovery, the Court will assign a final pretrial and
             trial date. Counsel should anticipate a trial date approximately four months after the
             deadline for filing case dispositive motions. Unless the parties consent to trial by the
             magistrate judge prior to or at the Rule 16 conference, the trial will be scheduled
             before Judge Bruce. In the event of a consent, the trial will be placed on the calendar
             of Judge Long.

IV.    Consent

       A.    Both judges encourage consent to the magistrate judge. Judge Bruce has a
             substantial caseload which affects his ability to schedule trials in civil cases. Judge
             Bruce takes no offense if the parties wish to consent and Judge Long takes no
             offense if they do not do so. Presently Judge Bruce schedules up to five civil cases
             per civil setting. Accordingly, not everyone receives a “No. 1 setting.” Judge
             Long customarily sets only one trial at a time although in some situations, he has
             scheduled two.

       B.    The parties are cautioned to make the consent decision early in the proceedings. The
             Court will view a consent tendered a few months before trial as an effort to obtain
             a continuance. Those consents will be ignored and no order of reference entered.




                                               2
           2:23-cv-02162-CSB-EIL # 11            Filed: 10/17/23    Page 9 of 21




V.    Alternative Dispute Resolution

      A.    The parties are reminded that they must consider some form of alternative dispute
            resolution. Currently, the Court offers three mechanisms.

            1.     The parties may request a judge-hosted settlement conference. A judge
                   other than the assigned trial judge will be designated to host the settlement
                   conference. Thus, in cases assigned to Judge Bruce, Judge Long will host
                   settlement conferences. In consent cases assigned to Judge Long,
                   occasionally Judge Bruce or Judge Baker will host settlement conferences.

            2.     The Court will also offer a summary jury trial or a summary bench trial.
                   These proceedings result in an advisory verdict designed to help counsel
                   assess the value of the case.

                   a.      The summary jury trial is a one-day proceeding involving no live
                           witnesses. The attorneys are allowed an opportunity to tell the trier
                           of fact what their evidence would be. Then they are allowed time to
                           make a final argument. In a jury proceeding, the Court instructs the
                           jury, which then retires for a fixed deliberation period. If the jury
                           reaches a consensus, they return and report the verdict. If they are
                           unable to reach a consensus, they return having filled out individual
                           forms of verdict. Unless the parties stipulate to be bound by the
                           verdict, this verdict is advisory only and does not become part of the
                           court record.

                   b.      The summary bench trial is essentially the same without the jury
                           participation.

      B.    At the Rule 16 conference, the parties should be prepared to summarize their
            settlement discussions to date. The Court will want to know if the Plaintiff has made
            a demand and if there has been any response. Counsel should also be
            prepared to discuss the alternative dispute mechanism which they feel would be most
            appropriate for their case.

VI.   Compliance With Scheduling Order

      A.    The Court regularly receives requests to convert the Rule 16 conference from
            personal appearance to telephonic conference.

            1.     If the parties have complied with the Court's order setting the scheduling
                   conference by submitting their proposed discovery plan to the Court seven
                   days prior to the scheduled conference, the Court will automatically convert
                   the hearing from personal appearance to telephone conference. The Court
                   will initiate the call.


                                             3
              2:23-cv-02162-CSB-EIL # 11               Filed: 10/17/23    Page 10 of 21



                   2.     For those who fail to submit proposed plans prior to the hearing, requests for
                          conversion to telephone conference will be denied.

                   3.     In those rare instances where counsel appear for the Rule 16 conference
                          without a plan, the Court will either continue the matter to a new date or
                          allow counsel a conference room in which to meet and prepare their plan.
                          The Court will resume the case when the Court’s schedule allows. This may
                          result in counsel waiting several hours before the Rule 16 conference
                          resumes in open court.

 VII.   Miscellaneous Information

        A.         Generally, Rule 16 scheduling in the Urbana Division is done by Judge Long’s
                   chambers.

                   Phone: 217/373-5839 & Fax: 217/373-5840.

        B.         The Court does not typically schedule oral argument on motions. Motions are taken
                   under advisement and ruled upon by the Court without oral argument. Any attorney
                   desiring oral argument should make a request in writing as part of the motion or
                   response. If the Court deems oral argument appropriate, the Court will schedule the
                   matter for argument. However, counsel are advised that such requests are rarely
                   granted.




Revised May 2015




                                                   4
                   2:23-cv-02162-CSB-EIL # 11                 Filed: 10/17/23        Page 11 of 21




                                          United States District Court
  CHAMBERS OF                              Central District of Illinois
COLIN S. BRUCE                                      U.S. COURTHOUSE                                TELEPHONE 217-974-7510
U.S. DISTRICT JUDGE                              201 SOUTH VINE STREET                              FACSIMILE 217-373-5855
                                                 URBANA, ILLINOIS 61802




    I.      GENERAL RULES FOR THE CONDUCT OF COUNSEL IN THE COURTROOM
            AND DURING TRIAL

            I.        Only counsel and parties are to be seated at counsel table. Also, only members of the bar are
                      to be seated inside the rail and in the well of the Court, unless the Court specifically
                      authorizes otherwise.

            II.       Counsel will refer to court officials by their titles and not by their first or last names (i.e.,
                      “The Clerk”, “The Court Reporter”, “The Marshal”, etc.). Counsel are also asked to refer
                      to each other as “Mr.”, “Miss”, or “Mrs.”, rather than by their first names.

            III.      In jury trials, as a general rule, Court will convene at 9:00 a.m., take a mid-morning recess,
                      break for lunch from Noon to 1:30 p.m., take a mid-afternoon recess, and adjourn for the
                      evening at 4:30 p.m.

            IV.       Counsel are requested to either go across to the attorney/witness room themselves to call a
                      witness, or to arrange for an associate to do so. The Marshals and Court Security Officers
                      (CSOs) are in the courtroom for security purposes only and are instructed not to engage in
                      any activity other than security protection for the Court, the jury, counsel, and the attending
                      of juries.

            V.        No food or drink will be permitted in the courtroom at any time, other than the water on
                      counsel tables. Also, newspapers are not to be read in the courtroom.

            VI.       No electronic devices which beep, ring, buzz, or whistle (e.g., cellular phones, alarm clocks,
                      pagers) are to be used in the courtroom. Should an electronic device make a noise in some
                      disruptive manner, the owner of the device shall surrender it to the courtroom deputy who
                      will shut the device off and retain possession of the device until the close of court in lieu of
                      the individual being held in contempt.

            VII.      Counsel must not waste jurors’ time. Consequently, counsel should:

                      1.      arrive in the courtroom on time for all scheduled court appearances;

                      2.      raise anticipated legal arguments regarding evidence, witnesses,
                              etc., at the beginning of the day prior to the scheduled arrival of the
                              jury, after the jury has been relieved for a break, or after the jury
                              has been relieved for the day;

                      3.      request side-bars only when absolutely necessary; and



                                                    5
              2:23-cv-02162-CSB-EIL # 11                Filed: 10/17/23      Page 12 of 21



               4.      be well prepared. Dispositive motions should have a memorandum
                       of law attached. All cases cited to the Court must include a copy
                       of the case.

      VIII.    Counsel must address themselves only to the Court except during opening statements,
               closing arguments, and examination of witnesses. Consequently, counsel should address the
               Court and:

               1.      not address comments to opposing counsel;
               2.      not ask jurors questions (i.e., “Can you see this exhibit?”);
               3.      not address comments to the court reporter (i.e., “Read that back”);
               4.      not address comments to the Clerk of the Court; and
               5.      not instruct witnesses but rather request that the Court give
                       the instruction.

      IX.      Counsel must stand when addressing either the Court or the jury and use the podium when
               examining witnesses or during opening statements and closing arguments so that the court
               reporter can accurately transcribe the proceedings. Also, counsel and the parties must stand
               when the jury enters and exits the courtroom.

II.   INSTRUCTIONS CONCERNING JURY SELECTION

      The following is a description of the struck panel method by which the jury will be selected in
      proceedings before Judge Bruce. There are many variations on this basic technique, and it is
      important that counsel understand exactly what procedure will be followed. The procedure requires
      counsel to take more careful notes and to observe more panelists than under the traditional jury
      selection method.

      Judge Bruce will conduct a voir dire of a number of panelists computed by totaling the following:
      the number of jurors to be selected, the number of alternates to be selected in a criminal case
      (generally 2), and the number of peremptory challenges. Thus, in a single defendant criminal case
      in which the defendant has 10 and the Government 6 peremptory challenges, plus 1 challenge each
      with respect to alternates, Judge Bruce will voir dire 32 panelists.

      In a civil case in which each side has 3 peremptories, Judge Bruce will voir dire 18 panelists for a
      12- person jury. Fewer panelists will undergo voir dire if the jury is to consist of less than 12 jurors.

      After Judge Bruce has voir dired the panel, the panel will be temporarily removed from the
      courtroom, or the attorneys will approach the bench or retire to Chambers, as the Judge directs. The
      first order of business will be to determine whether there are any challenges for cause. If there are
      any challenges for cause, the removed panelists will be replaced by inserting new panelists from the
      venire in their slots so that there is a full panel before any peremptory challenges are exercised.
      Judge Bruce will then complete the voir dire of panelists added as a result of challenges for cause,
      if any.

      The exercise of peremptory challenges will follow next, while the jury is outside the courtroom.
      Counsel will exercise a challenge by indicating the name of the juror challenged. Counsel will
      alternate in exercising challenges, with Plaintiff having the first challenge.



                                                    6
             2:23-cv-02162-CSB-EIL # 11                  Filed: 10/17/23     Page 13 of 21



       In civil cases, this process will be repeated two more times until all three peremptories are exhausted.
       In criminal cases, the number of challenges is different, and the jurors are excused only after all
       challenges have been exercised. In a single defendant criminal case, the defendant exercises 2
       challenges and the Government 1 challenge for four rounds, then each side exercises 1 challenge for
       two rounds, making a total of 10 and 6. In each round, the Government will exercise its challenges
       first.

       Note that a party may waive its right to challenge but may not reserve its challenge. Counsel may not
       say, "Well, we will pass this time and take 2 the next time." Also note that challenges may be made
       to any of the panelists regardless of where that panelist appears in the array.

       When each side has exhausted its peremptory challenges, the first 12 names unchallenged constitute
       the jury in a criminal case.

       After the 12-person jury is selected in a criminal case, each side has 1 additional challenge which is
       exercisable only with respect to the alternates, who are selected from the remaining unchallenged
       panelists after the jury has been selected. These final two challenges will occur once the other
       peremptory challenges have been exercised.


III.   CONDUCT TOWARD THE JURY

       A.      Counsel may not, under any circumstances, communicate with a juror during the pendency
               of a trial and may do so after the conclusion of the trial only with prior permission from the
               Court.

       B.      The Court will conduct voir dire examination. If counsel has particular, non-routine
               questions which they would like the Court to ask, those questions should be presented to the
               Court in writing at the final pre-trial conference.

       C.      Counsel and the parties shall not extend common courtesies to any juror, including greetings,
               holding a door or elevator, etc.

IV.    EXAMINATION OF WITNESSES

       A.      As previously stated, counsel should not instruct witnesses, but instead request the Court for
               an instruction.

       B.      Counsel should not ask a witness to leave the witness box, but instead request that the Court
               grant the witness the right to leave the box at the conclusion of the testimony or for
               demonstrative reasons.

       C.      When more than one attorney represents one party, only one attorney may question each
               witness, and only the questioning attorney may object to opposing counsel’s questions of
               that witness.

       D.      Counsel should ask leave to approach a witness with an exhibit the first time, and need not
               repeat the request for that witness thereafter.

       E.      Counsel should not obstruct any juror’s view of the witness with their person or an exhibit.


                                                     7
           2:23-cv-02162-CSB-EIL # 11                 Filed: 10/17/23      Page 14 of 21




      F.    Counsel should be mindful of the court reporter and not speak too quickly or begin a new
            question prior to a witnesses’ completion of the answer to the previous question.

      G.    When counsel has completed the examination of a witness, counsel should not address
            themselves to opposing counsel (i.e., “Your witness”), but instead address themselves to the
            Court (i.e., “Those are my questions,” “I have no further questions,” or “Thank you, Mr.
            Witness”).

V.    OBJECTIONS

      A.    Counsel should attempt to limit their courtroom objections by motions in limine which
            should be in writing and filed before the final pretrial. The Court will not consider motions
            filed after the final pretrial conference. The Court will deem such motions as untimely.

      B.    Counsel should stand when making an objection. District rules require counsel to stand
            whenever addressing the Court.

      C.    Counsel should very briefly state the grounds for an objection at the time the objection is
            made (i.e., “Objection. Argumentative.”).

      D.    If counsel wishes to argue an objection or make a record, they should not do so in front of
            the jury, but instead must request a side-bar. All side bars should be kept to a minimum and
            the Court frowns on requests to have the jury frequently taken from the courtroom. The
            Court encourages counsel to anticipate evidentiary problems and handle as many objections
            as possible prior to trial or at the beginning of the morning or afternoon before the jury enters
            the courtroom.

      E.    Once an objection is made, before proceeding to another question, the questioner should
            either wait for a ruling or ask to withdraw the pending question. The questioner should not
            respond to the objection unless asked by the Court to do so.

VI.   EXHIBITS

      A.    Pursuant to District rules, always pre-mark your exhibits and exchange them with opposing
            counsel.

      B.    Each item, including pages, in a group exhibit must be marked.

      C.    Always show exhibits to opposing counsel before showing them to a witness.

      D.    If counsel wishes an exhibit to be published to the jury, they should ask for the Court’s
            permission. If allowed, the Court will instruct the Court Security Officer to pass the exhibits
            to the jury or the Court may allow them to be published by electronic means. Exhibits may
            not be published before they are admitted into evidence. There should not be questioning
            of a witness while the exhibit is published.

      E.    Disputes over the admissibility of exhibits must be raised outside the presence of the jury,
            preferably in a motion in limine.



                                                  8
               2:23-cv-02162-CSB-EIL # 11                Filed: 10/17/23     Page 15 of 21



VII.    JURY INSTRUCTIONS

        A.       Proposed jury instructions must be e-filed with the Court prior to the final pre-trial
                 conference.

        B.       Jury instructions should be double-spaced. Pattern jury instructions must be used if there is
                 a relevant Seventh Circuit pattern instruction. Non-pattern instructions are discouraged
                 unless necessity compels their usage.

VIII.   CONDUCT DURING JURY DELIBERATION

        A.       Counsel should furnish the Clerk of the Court with a telephone, cellular phone, or pager
                 number where they can be reached when the jury indicates that it has reached a verdict or
                 when the jurors have a question that needs a response from the Court.

        B.       Counsel should be able to arrive in the courtroom upon receiving a call within no more than
                 fifteen minutes after being contacted by the Court.

        C.       REMEMBER, counsel may not question jurors after a verdict has been reached
                 without prior approval from the Court.




Revised January 2014




                                                     9
         2:23-cv-02162-CSB-EIL # 11        Filed: 10/17/23   Page 16 of 21




                UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF ILLINOIS

              www.ilcd.uscourts.gov
Please visit our website to find:

   Local Rules
   Selected Court Forms, including Attorney Admission Forms
   Juror Information
   Maps to the Courthouses in all divisions
   Selected Orders and Opinions of the Court
   Chambers and Clerk’s Office Staff Directories
   Courtroom Technology Guides

http://www.ilcd.uscourts.gov/courtroom-technology




                                      10
                2:23-cv-02162-CSB-EIL # 11         Filed: 10/17/23            Page 17 of 21




                             UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
                                          OFFICE OF THE CLERK




                   NOTICE OF RIGHT TO CONSENT TO DISPOSITION OF A
                  CIVIL CASE BY A UNITED STATES MAGISTRATE JUDGE



       In accordance with the provisions of 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73, you are
hereby notified that, upon the consent of all the parties in a civil case, the Court may appoint a
United States Magistrate Judge of this District, who is specially certified to conduct any or all
proceedings, including trial of and the entry of a final judgment. A copy of the appropriate
consent form is attached.

       You should be aware that your decision to consent, or not to consent, to the disposition of
your case before a United States Magistrate Judge is entirely voluntary and should be
communicated to the Clerk of the Court. Only if all the parties to the case consent to the
reference to a Magistrate Judge will either the District Judge or Magistrate Judge to whom the
case has been assigned be informed of your decision. Neither a District Judge nor a Magistrate
Judge will attempt to persuade or induce any party to consent to the reference of this case to a
Magistrate Judge.

       If all parties consent, the form is to be e-signed (s/NAME) by all and e-filed with the
Court pursuant to guidance in the Court’s Local Rules 11.4(A) or (B). A certificate of service is
not required to be filed with this document.




NOTE: The Court has approved s/NAME as an official signature on the Consent Form.
Copies of the form and the Court’s Local Rules are available at www.ilcd.uscourts.gov.




    Peoria Division           Urbana Division         Springfield Division           Rock Island Division
    100 N.E. Monroe St.       201 S. Vine St.         600 E. Monroe St.              211 19th St.
    Room 309                  Room 218                Room 151                       Room 203
    Peoria, IL 61602          Urbana, IL 61802        Springfield, IL 62701          Rock Island, IL 61201
    309.671.7117              217.373.5830            217.492.4020                   309.793.5778
                              2:23-cv-02162-CSB-EIL # 11                                Filed: 10/17/23       Page 18 of 21
AO 85 (Rev. 07/11 Court) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                           UNITED STATES DISTRICT COURT
                                                                               for the
                                                                  Central District of Illinois

                                                                                    )
                                  Plaintiff                                         )
                                      v.                                            )      Civil Action No.

                                                                                    )
                                 Defendant                                          )


                      NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                       TO EXERCISE JURISDICTION


         In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United States
magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial,
and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.
        You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction
from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned.
          An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for
this judicial circuit in the same manner as an appeal from any other judgment of this district court.


CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
In accordance with provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have a United States
magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and conduct
all post-judgment proceedings.
              Parties’ printed names                                       Signatures of parties or attorneys                        Dates




                                                                       Reference Order

         IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order
the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                        District Judge’s signature



                                                                                                          Printed name and title

Note:      Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
           magistrate judge. Do not return this form to a judge.
           2:23-cv-02162-CSB-EIL # 11            Filed: 10/17/23        Page 19 of 21

TO E-FILE THE CONSENT TO MAGISTRATE JUDGE FORM:

1.    Scan and save the form in pdf format.

2.    Log on to CM/ECF.

3.    Click on Civil on the top left hand corner of the blue toolbar.

4.    Click on Other Filings/Other Documents.

5.    Choose “Proposed Consent to Jurisdiction by Magistrate Judge” from drop down box.
      Click next.

6.    Enter case number. Click next.

7.    Browse for the saved form. Click next.

8.    Case confirmation screen appears. Click next.

9.    Docket text appears. Click next.

10.   NEF appears. Consent has been filed.

11.   Place the original document in your file. (Pursuant to Local Rule 11.4(B)(3) - “The
      filing party must retain the original document until one year after the date that the
      judgment has become final by the conclusion of direct review or the expiration of the
      time for seeking such review has passed.”)
            2:23-cv-02162-CSB-EIL # 11           Filed: 10/17/23    Page 20 of 21




RULE 11.4     ELECTRONIC SIGNATURES

     (A)      Signatures by Electronic Filers.

              (1)    Use of a log-in and password for electronic filing constitutes and has
                     the same force and effect as the filer’s signature for purposes of Fed.
                     R. Civ.
                     P. 11, the Local Rules of this Court, and any other purpose for which
                     a signature may be required in connection with proceedings in this
                     Court.

              (2)    Electronic filers should sign in the following manner: “s/ Jane Doe.”
                     Documents signed by an attorney must be filed using that attorney’s log-
                     in and password; they may not be filed using a log-in and password
                     belonging to another attorney.

              (3)    Where multiple attorney signatures are required, such as on a joint
                     motion or a stipulation, the filing attorney may enter the “s/” of the other
                     attorneys to reflect their agreement with the contents of the documents.


     (B)      Signatures by Non-Electronic Filers.

              (1)    If an original document requires the signatures[s] of one or more
                     persons not registered for electronic filing (e.g. settlement agreement
                     with a pro se party, or a witness’ affidavit), the filing party or its
                     attorney must initially confirm that the content of the document is
                     acceptable to all persons required to sign the documents. Original
                     signatures of all non-electronic filers must be obtained before the
                     document is filed.

              (2)    The filing party must either redact the original signature[s] and efile the
                     redacted version of the document, or provide the redacted version to the
                     Clerk’s Office for scanning and electronic filing. The filed document
                     must indicate the identity of each non-registered signatory in the form
                     “s/Jane Doe”. A certificate of Service upon all parties and/or counsel of
                     record must be filed with the document.

              (3)    The filing party must retain the original document until one year after
                     the date that the judgment has become final by the conclusion of direct
                     review or the expiration of the time for seeking such review has passed.

              (4)    The electronically filed document as it is maintained on the court’s
                     servers constitutes the official version of that record. The court will not
                     maintain a paper copy of the original document except as otherwise
                     provided in these Rules.
      2:23-cv-02162-CSB-EIL # 11         Filed: 10/17/23    Page 21 of 21




(C)     Disputes Over Authenticity.

        Any party or non-filing signatory who disputes the authenticity of an
        electronically filed document or the signatures on that document must file an
        objection to the document within 14 days of receiving the notice that the
        document has been filed.
